                 IN THE UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION

   IN RE:                                         )
                                                  )
   WALKER MACHINE TOOL                            ) CASE NO. 19-04553-DSC11
   SOLUTIONS, INC.,                               ) CHAPTER 11
                                                  )
   EIN: XX-XXX0899                                )
                                                  )
      DEBTOR.                                     )

     APPLICATION OF PRESTIGE EQUIPMENT, BROKER FOR THE DEBTOR,
      FOR FINAL COMPENSATION AND REIMBURSEMENT OF EXPENSES

                                  PART I. COVER SHEET

       1.     Name of Applicant: Prestige Equipment

       2.     Date Application for Employment was filed: 12/16/2019

       3.     Date of Order Authorizing Employment: 1/30/2020

       4.     Professional Services Provided to: Debtor

       5.     Period for which Compensation is Sought: 1/30/2020 through 7/23/2020

       6.     Amount of Fees Sought: $12,524.68; Reimbursable Expenses: $0.00

       7.     This is a Final Fee Application.

       8.     The aggregate amount of fees and expenses approved to date: $0.00

       9.     The aggregate amount of fees and expenses allowed per the Order dated
              1/30/2020 [Doc 39]

       10.    The 20% allowance to be approved on this application: $2,504.94

       11.    The aggregate amount of fees and expenses paid to date: $0.00

       Dated this the 17th day of August, 2020.

                                                          /s/ Stuart M. Maples
                                                          STUART M. MAPLES
                                                          (ABS-1974-S69S)




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                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION

   IN RE:                                        )
                                                 )
   WALKER MACHINE TOOL                           ) CASE NO. 19-04553-DSC11
   SOLUTIONS, INC.,                              ) CHAPTER 11
                                                 )
   EIN: XX-XXX0899                               )
                                                 )
       DEBTOR.                                   )


                       PART II – VERIFICATION OF APPLICATION
                         FOR COMPENSATION AND EXPENSES

        The undersigned, having been duly sworn, certifies that Adam Herman is the person

 signing and certify matters contained within the Final Application for Compensation and

 Reimbursement for Expenses filed with this Court. All matters set forth in the Application for

 Compensation are true and correct to the best of his knowledge and belief.

                                             /s/ Adam Herman
                                             ADAM HERMAN
                                             Affiant


        SWORN TO AND SUBSCRIBED before me on this the 17th day of August, 2020.



                                             /s/Kristin Pickett
                                             NOTARY PUBLIC
                                             My Commission Expires: 5/19/2021




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                   IN THE UNITED STATES BANKRUPTCY COURT
               NORTHERN DISTRICT OF ALABAMA, SOUTHERN DIVISION

   IN RE:                                          )
                                                   )
   WALKER MACHINE TOOL                             ) CASE NO. 19-04553-DSC11
   SOLUTIONS, INC.,                                ) CHAPTER 11
                                                   )
   EIN: XX-XXX0899                                 )
                                                   )
       DEBTOR.                                     )


                       PART III. FINAL APPLICATION FOR
                COMPENSATION AND REIMBURSEMENT OF EXPENSES

        COMES NOW Adam Herman of Prestige Equipment (hereinafter “Applicant”), as broker

 for Walker Machine Tool Solutions, Inc., Debtor in Possession (“Debtor”), and says:

        1.      That Applicant makes this final application for compensation and reimbursement

 of actual and necessary costs and expenses incurred by it in the course of its representation of the

 Debtor through July 23, 2020.

        2.      The Chapter 11 bankruptcy petition for Debtor was filed with this Court on

 November 5, 2019.

        3.      This Court entered an order approving the employment of Prestige Equipment as

 broker for Debtor on January 30, 2020.

        4.      All services for which compensation is requested by this Applicant were performed

 for and on behalf of the Debtor and not on behalf of any other person.

        5.      The results achieved to date have required a substantial expenditure of time, energy

 and expertise. As a consequence, the Debtor required Applicant’s ongoing professional services

 conducting and negotiating private sales of real and personal property in order to serve its needs

 in the Chapter 11 proceeding.



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           6.    Applicant makes this application under 11 U.S.C. § 330 and 331 of the Bankruptcy

 Code and seeks allowance of reasonable compensation for the professional services which it has

 rendered and for reimbursement of the actual necessary expenses which it has incurred in

 connection herewith.

           7.    Applicant has rendered services on behalf of Debtor as shown in Exhibit “A”.

 Applicant, therefore, seeks an allowance of final compensation in the amount of $12,524.68 for

 professional services rendered as counsel for the Debtor and the reimbursement of actual expenses

 incurred in the amount of $0.00 for representation from January 30, 2020 through July 23, 2020.

           8.    Professional services required in this matter and described in this application were

 performed by a broker who possesses experience and skills in the area in which they rendered

 services. Fees awarded pursuant to this application shall not be shared or divided except as allowed

 by law.

           9.    Applicant represents that the allowance for final compensation and reimbursement

 of expenses required herein is reasonable and fully complies with § 331 of the Bankruptcy Code.

           WHEREFORE, PREMISES CONSIDERED, Applicant respectfully requests that it be

 allowed the sum of $12,524.68 as final compensation for professional services rendered as broker

 for the Debtor and for reimbursement of actual and necessary expenses incurred in the amount of

 $0.00 from January 30, 2020 through July 23, 2020, and that it be granted such further and

 additional relief as this Court may deem just and proper.

           Dated August 17, 2020.

                                                              /s/ Stuart M. Maples
                                                              STUART M. MAPLES
                                                              (ABS-1974-S69S)




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 MAPLES LAW FIRM, PC
 200 Clinton Avenue West, Suite 1000
 Huntsville, Alabama 35801
 Tel: (256) 489-9779
 Fax: (256) 489-9720
 smaples@mapleslawfirmpc.com




                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 23rd day of July, 2020, I electronically filed the foregoing with
 the Clerk of the Court using the CM/ECF system which will send notification of such filing to all
 counsel of record, including without limitation the following:

 J. Thomas Corbett
 Bankruptcy Administrator
 1800 5th Avenue North
 Birmingham, AL 35203

 20 Largest Unsecured Creditors

 All parties requesting notice

         I do hereby certify that on August 17, 2020, a copy of the foregoing document was served
 on the following by mailing a copy of the same United States Mail, properly addressed and first-
 class postage prepaid.

 Prestige Equipment
 c/o Adam Herman
 35 Pinelawn Rd., Suite 203W
 Melville, New York 11747

                                                       /s/ Stuart M. Maples
                                                       STUART M. MAPLES




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                                                                        EXHIBIT A
               WALKER MACHINE TOOL AUCTION STATEMENT

TOTAL HAMMER PRICE (PER LOT REPORT)                       $   138,055.00
LESS: PRESTIGE 10% COMMISSION                             $   (13,805.50)
LESS: PARTIAL REFUND ON LOT#66 - FARO ARM                 $    (5,000.00)
LESS: PRESTIGE EXPENSE REIMBURSEMENT                      $   (10,000.00)
LESS: PAYMENT TO LOCKSMITH                                $      (274.00)
AUCTION PROCEEDS DUE WALKER                               $   108,975.50

NOTE: ACTUAL EXPENSES AS FOLLOWS

AUCTION SET UP WITH AUCTION READY                         $ 10,525.68
INSPECTION/WRITEUP - GULF COAST MACHINE                   $ 1,000.00
AUCTION FLYER/EMAIL BLAST                                 $    725.00
PAYMENT TO LOCKSMITH                                      $    274.00
                                                          $ 12,524.68




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